    Case No. 1:11-cv-02106-PAB-CBS Document 78-2 filed 10/24/13 USDC Colorado pg 1 of
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                                       UNEED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLORADO

        Ci宙 l Action No.10‐ cv‐ 02794‐ JLK‐ KLM

            SECtRTlES AND EXCHANGE COヽ 641SSION,
                                                                                                         ￨ヽ   ス
                                        Pl譴 面 ュ
            V.


            RICHARD DALTON,and
            UNIVERSAL CONSULTNG RESOURCES LLC,
                                        Dcfendant
                       ・
            and

            NIARIE DALTON,

                                         RellefI〕 efendant




                                            NOTICE OF LIS PENDENS


                  Notice is given that the above entted a磁 on was flled in the above‐entitled court on

            November 16,2010 by the United States Securities and Exchange Comlnision,plainit against

            defendants RIchard Dalton and Univcrsal Consulting Resources,LLC atld reliefdcfcndant MaHe

            Dalton.The"お n arccts title tO spcciflc real propcrty and      nght to possession of real

            pЮ pmy descibed in the complaint as̀the Cole Street Propeゥ ''pocketNo.1]

                   ne rcal prOpcrけ arected by this action is located at 927 Cole Str∝ t,Gold切 ,C080401

            in Jefferson County,Colorado,and is more pani"larly dcscibed as fol10ws:

                   PARCL B,EXEMP■ ON SURVEY SECTION 6,TOWNSHIP 4 SOUTH,RANGE 69
                   WEST,E18‑3‑93 ACCORDING TO THE EXEMPTION SURVEY RECORDED」 UNE
                   4,1993 AT RECEPT10N NO.93079644 N B00K ll AT PAGE 26,COUNTY OF
                   JEFFERSON,STATE OF COLORADO oegal descriptlon).

                   Patea tnis   /b aay of November,2010.

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    Case No. 1:11-cv-02106-PAB-CBS Document 78-2 filed 10/24/13 USDC Colorado pg 2 of
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                                                        ara T.Wclls

                                                  James A Scoggins
                                                  John H. Mulhem
                                                  Attorneys for Plaintiff
                                                  U.S. Securities and Exchange Commission
                                                  1801 California Street, Suite 1500
                                                  Denver, CO 80202
                                                  (303) 844-1000




                                          ACKNOWLEDGttW

                Subs   bed   d swom to before me thisf6tay of Novcmber, 2010.



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